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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER SETTING HEARING RE:
                                                                         10   This Order Relates To:                  )   APPOINTMENT OF A SPECIAL
                               For the Northern District of California
United States District Court




                                                                                                                      )   MASTER PURSUANT TO MOTION
                                                                         11                                           )   OF CERTAIN PARTIES
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14        On September 1, 2015, certain parties requested the Court
                                                                         15   appoint a Special Master to handle matters related to attorneys'
                                                                         16   fees in cases that have settled and where the Court retains
                                                                         17   oversight over distribution of such fees.        See ECF No. 4032.   The
                                                                         18   Court also advised if it received any objections, to ensure a full
                                                                         19   opportunity to be heard, the Court would consider permitting
                                                                         20   parties to appear at the hearing already scheduled for tomorrow.
                                                                         21   See ECF No. 4033; see also ECF No. 4029.        The Court now sets said
                                                                         22   hearing on Friday morning, September 11, 2015, at 10:00 am, at the
                                                                         23   San Francisco Courthouse, 17th Floor, Courtroom 1.          Parties are not
                                                                         24   required to appear if they have no further objections or comments.
                                                                         25        IT IS SO ORDERED.
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                                                                         27        Dated: September 10, 2015
                                                                         28                                        UNITED STATES DISTRICT JUDGE
